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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                    TACOMA DIVISION

 7   DALE DANIELSON, a Washington State
     employee; BENJAMIN RAST, a Washington                   No. 3:18-cv-5206
 8   State employee; TAMARA ROBERSON, a
     Washington State employee; as                           COMPLAINT – CLASS ACTION
 9   individuals, and on behalf of all others
     similarly situated,
10
                            Plaintiffs,
11
            v.
12
     GOVERNOR JAY INSLEE, in his official
13   capacity as Governor of the State of Washington;
     DAVID SCHUMACHER, in his official capacity
14   as Director of Washington State Office of
     Financial Management; and AMERICAN
15   FEDERATION OF STATE, COUNTY AND
     MUNICIPAL EMPLOYEES COUNCIL 28,
16   AFL-CIO, a labor organization,

17                          Defendants.

18
                                            I. INTRODUCTION
19
        1. Plaintiffs DALE DANIELSON, BENJAMIN RAST, and TAMARA ROBERSON are
20
     state employees and bring this class action on behalf of themselves and all others similarly situated,
21
     seeking redress for the defendants’ past and ongoing violations of their constitutionally protected
22
     rights. The plaintiffs allege as follows:
23
        2. The imposition of compulsory agency fees violates Plaintiffs’ rights under the First and
24

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 1   Fourteenth Amendments to the U.S. Constitution. The representative plaintiffs seek for themselves

 2   and the proposed class: (a) a declaratory judgment against the State and the Union (collectively,

 3   “Defendants”) that the imposition of compulsory agency fees violates Plaintiffs’ rights under the

 4   First Amendment to the U.S. Constitution; (b) injunctive relief that prohibits Defendants from

 5   seizing agency fees from the representative plaintiffs and the class; (c) an award of damages for

 6   agency fees wrongfully seized from the representative plaintiffs and the class; and (d) an award of

 7   reasonable attorneys’ fees, costs, and expenses pursuant to 42 U.S.C. § 1988.

 8
                                    II. JURISDICTION AND VENUE
 9
        3. This action arises under 42 U.S.C. § 1983 to redress the deprivation, under color of state
10
     law, of rights, privileges, and immunities secured to the representative plaintiffs and the class
11
     (“Plaintiffs”) by the First and Fourteenth Amendments to the U.S. Constitution.
12
        4. This Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C. § 1331 because
13
     they arise under the U.S. Constitution and 28 U.S.C. § 1343 because the Plaintiffs seek relief under
14
     42 U.S.C. § 1983. This Court has authority under 28 U.S.C. §§ 2201 and 2202 to grant declaratory
15
     relief and other relief based thereon.
16
        5. Venue is proper in this Court because the Defendants do business and operate in this
17
     district. 28 U.S.C. § 1391(b). Assignment to the Tacoma Division is proper because the claims
18
     arose in Thurston County and because all Defendants’ principal places of business are in Thurston
19
     County. See Local Civil Rule 3(e)(1).
20

21                                             III. PARTIES

22      6. Plaintiff Dale Danielson resides in Yakima County, Washington. He is employed by

23   Washington’s Department of Social and Health Services in a bargaining unit exclusively

24   represented by Defendant American Federation of State, County, and Municipal Employees

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 1   Council 28, AFL-CIO, doing business as the Washington Federation of State Employees

 2   (“WFSE”). Mr. Danielson is not a member of the Union but is compelled to pay an agency fee to

 3   the union as a condition of employment.

 4       7. Plaintiff Benjamin Rast resides in Pierce County, Washington. He is employed by

 5   Washington’s Department of Labor and Industry in a bargaining unit exclusively represented by

 6   WFSE. Mr. Rast is not a member of the Union but is compelled to pay an agency fee to the union

 7   as a condition of employment.

 8       8. Plaintiff Tamara Roberson resides in Pierce County, Washington. She is employed by

 9   Tacoma Community College and in a bargaining unit exclusively represented by WFSE. Ms.

10   Roberson is not a member of the Union but is compelled to pay an agency fee to the union as a

11   condition of employment.

12       9. Defendant WFSE is a labor union that represents over 35,000 public employees in

13   Washington, and is headquartered at 1212 Jefferson St., Suite 300, Olympia, Washington 98501.

14       10. Defendant David Schumacher is the Director of the Washington State Office of Financial

15   Management with an office in Olympia. As such, and on information and belief, he is charged with

16   the responsibility of negotiating and enforcing the collective-bargaining agreement on behalf of

17   the governor with WFSE pursuant to RCW 41.80.010. These responsibilities are handled by the

18   Labor Relations Division of the Office of Financial Management, over which Schumacher exerts

19   direct authority. He is sued only in his official capacity.

20       11. Defendant Jay Inslee is the Governor of the State of Washington with an office in Olympia,

21   Washington. Governor Inslee is the bargaining representative of the state and is sued only in his

22   official capacity.

23

24

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 1                                      IV. FACTUAL ALLEGATIONS

 2         12. State employee collective bargaining is governed by RCW 41.80. The State of Washington

 3   is the employer of State employees, including Plaintiffs and the class. RCW 41.80.005(8).

 4         13. The State’s bargaining representative is the governor or the governor’s designee. RCW

 5   41.80.010.

 6         14. By contract with the state, WFSE has been designated as the exclusive bargaining

 7   representative of many Washington public employees, as described in the Collective Bargaining

 8   Agreement (“CBA”) between WFSE and the state.1

 9         15. RCW 41.80.050 states that employees have the right to refrain from union activities,

10   “except to the extent that they may be required to pay a fee to an exclusive bargaining

11   representative under a union security provision authorized by this chapter.”

12         16. RCW 41.80.100(1) outlines union security provisions and authorizes the state employer to

13   withhold an agency fee “that represents a pro rata share of expenditures for purposes germane to

14   the collective bargaining process[.]”

15         17. In accordance with these statutes, the state and WFSE created Article 40.3 of the current

16   Collective Bargaining Agreement (“CBA 40.3”), describing “Union Security” and union

17   nonmembers’ payment obligations. In relevant part, it reads:

18         All employees covered by this Agreement will, as a condition of employment, either
           become members of the Union and pay membership dues or, as nonmembers, pay a fee as
19         described in Subsections 40.3 A, B, and C below, no later than the 30th day following the
           effective date of this Agreement or the beginning of their employment.
20             A. Employees who choose not to become union members must pay to the Union, no
           later than the 30th day following the beginning of employment, an agency shop fee equal
21         to the amount required to be a member in good standing of the Union…
               C. The Union will establish a procedure that any employee who makes a request may
22         pay a representation fee equal to a pro rata share of the full membership fee that is related

23   1
      Collective Bargaining Agreement for the State of Washington and the Washington Federation of State Employees,
     July 1, 2017 thru June 30, 2019, at Appendix A available at
24   https://www.ofm.wa.gov/sites/default/files/public/legacy/labor/agreements/17-19/wfse_gg.pdf.

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 1       to collective bargaining, contract administration and the pursuit of matters affecting wages,
         hours and other terms and conditions of employment rather than the full membership fee.
 2
         18. The State deducts agency fees, in an amount determined by WFSE, from the wages of
 3
     Plaintiffs and remits those monies to WFSE. The Union acts under color of state law by contracting
 4
     for and participating in the administration of agency fee deductions from Plaintiffs’ wages.
 5
         19. All of WFSE’s activities that state law and CBA 40.3 compel Plaintiffs to support by way
 6
     of agency fees, including actions taken as an exclusive bargaining representative in the public
 7
     sector, are inherently political activities by the union.
 8
         20. Compulsory agency fees fund, inter alia, WFSE’s efforts to maintain its exclusive
 9
     bargaining representative status against competing unions or employee de-unionization efforts.
10
     Plaintiffs are thus compelled to fund through agency fees activities directly contrary to their
11
     associational interests.
12
         21. Plaintiffs are compelled to pay agency fees to WFSE, which frees up resources for WFSE
13
     to spend on political and ideological activities, which Plaintiffs oppose.
14
         22. Plaintiffs object to paying agency fees to WFSE, and believe this compulsory obligation
15
     violates their constitutional rights. Absent statutory and contractual requirements compelling them
16
     to do so, they would pay no fees to the Union.
17
         23. The Supreme Court’s ruling in Abood v. Detroit Bd. of Educ., 431 U.S. 209 (1977), which
18
     upheld the constitutionality of public-employee union shops and the forced imposition of “agency
19
     fees” on non-union members, has been so undermined by subsequent Supreme Court rulings and
20
     doctrinal developments that it need not be regarded as binding precedent, even though the Supreme
21
     Court has yet to explicitly overrule that decision. Harris v. Quinn, 134 S. Ct. 2618, 2632-34 (2014)
22
     (criticizing Abood’s analysis as “questionable on several grounds” and claiming that Abood
23
     “seriously erred” and “fundamentally misunderstood” the earlier decisions of the Court); Knox v.
24

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 1   Serv. Employees Int'l Union, Local 1000, 567 U.S. 298, 314 (2012) (“By authorizing a union to

 2   collect fees from nonmembers… our prior decisions approach, if they do not cross, the limit of

 3   what the First Amendment can tolerate.”) (emphasis added).

 4      24. Lower courts frequently treat a doctrinally antiquated precedent as non-binding when

 5   supported by more recent cases challenging the precedent’s authoritative value. In cases preceding

 6   the Supreme Court’s decision in Obergefell v. Hodges, 135 S. Ct. 2584, 2605 (2015), the vast

 7   majority of federal district courts and federal appellate courts disregarded the holding of Baker v.

 8   Nelson, 409 U.S. 810 (1972), and recognized a constitutional right to same-sex marriage—even

 9   though the Supreme Court did not overrule Baker until its pronouncement in Obergefell. See, e.g.,

10   Bostic v. Schaefer, 760F.3d 352, 375 (4th Cir. 2014) (“[W]e decline to view Baker as binding

11   precedent); Waters v. Ricketts, 48 F. Supp. 3d 1271, 1284 (D. Neb. 2015) (“Doctrinal

12   developments since the Baker case indicate the Supreme Court’s summary ruling in Baker is no

13   longer reliable or binding.”); Searcy v. Strange, 81 F. Supp. 3d 1285, 1287 (S.D. Ala. 2015)

14   (refusing to follow Baker because “Supreme Court decisions since Baker reflect significant

15   ‘doctrinal developments’ concerning the constitutionality of prohibiting same-sex relationships”

16   (citation omitted)).

17      25. There are other examples of lower courts that disregard Supreme Court precedent after

18   concluding that a previous ruling no longer enjoys the support of five justices—and the Supreme

19   Court has affirmed those rulings without criticizing the lower court for anticipating the Supreme

20   Court’s repudiation of its earlier ruling. See Simmons v. Roper, 112 S.W.3d 397 (Mo. 2003)

21   (declaring the juvenile death penalty unconstitutional and refusing to follow Stanford v. Kentucky,

22   492 U.S. 361 (1989)), aff’d by Roper v. Simmons, 543 U.S. 551 (2005); United States v. Booker,

23   375 F.3d 508, 513 (7th Cir. 2004) (Posner, J.) (declaring the federal sentencing guidelines

24

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 1   unconstitutional even though this contradicted the Supreme Court’s holding in Edwards v. United

 2   States, 523 U.S. 511 (1998)), aff’d and remanded by United States v. Booker, 543 U.S. 220 (2005).

 3      26. Plaintiffs bring suit at this time to preserve the class members’ ability to seek retrospective

 4   relief against the defendants for as far back as the statute of limitations will allow.

 5
                                        V. CLASS ALLEGATIONS
 6
        27. This is a class action brought by named Plaintiffs Dale Danielson, Benjamin Rast, and
 7
     Tamara Roberson for themselves and all others similarly situated, pursuant to Federal Rule of Civil
 8
     Procedure 23(b)(1)(A), (b)(2), and/or 23(b)(3). The class consists of all individuals who: (1) are
 9
     employees of the State of Washington; and, (2) have had any union agency fees deducted from the
10
     monies paid to them by the state and remitted to WFSE or its affiliates; and (3) have chosen not to
11
     become members of WFSE by not signing membership cards or by choosing to become agency
12
     fee payers.
13
        28. The number of persons in the class makes joinder of individual class members impractical.
14
        29. There are questions of fact and law common to all class members. Factually, all class
15
     members are public employees and union nonmembers compelled to pay agency fees to WFSE as
16
     a condition of employment. Legally, the U.S. Constitution affords the same rights under the First
17
     Amendment to each and every member of the class.
18
        30. The named Plaintiffs’ claims are typical of other members of the class, because each and
19
     every member of the class has objected to WFSE membership yet is forced by state law and
20
     contract provisions to financially support WFSE and its inherently political activities.
21
        31. The named Plaintiffs adequately represent the interests of the class, and have no interests
22
     antagonistic to the class. Moreover, the undersigned counsel represent Plaintiffs and the class pro
23
     bono and are employed by a long-established charitable organization experienced in furnishing
24

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 1   representation to unionized public and partial-public employees whose constitutional rights have

 2   been violated.

 3      32. A class action can be maintained under Rule 23(b)(1)(A) because separate actions by class

 4   members could risk inconsistent adjudications on the underlying legal issues.

 5      33. A class action can be maintained under Rule 23(b)(1)(B) because an adjudication

 6   determining the constitutionality of compulsory agency fees will, as a practical matter, be

 7   dispositive of the interests of all class members.

 8      34. A class action can be maintained under Rule 23(b)(3) because the common questions of

 9   law and fact identified in the Complaint predominate over any questions affecting only individual

10   class members. A class action is superior to other available methods for the fair and efficient

11   adjudication of the controversy because, among other things, all class members are subjected to

12   the same violation of their constitutional rights, but the amount of money involved in each

13   individual's claim would make it burdensome for class members to maintain separate actions.

14
                                        VI. CLAIMS FOR RELIEF
15
                                                CLAIM 1
16                          First Amendment, through 42 U.S.C. §1983
               Compelling Plaintiffs to pay agency fees violates their First Amendment rights
17
        35. The Plaintiffs re-allege and incorporate by reference the paragraphs set forth above.
18
        36. RCW 41.80.100 and CBA 40.3 compel Plaintiffs to pay agency fees to WFSE as a
19
     condition of employment. Defendants, acting under state law and color of state law have created,
20
     administered, and enforced these obligations. In so doing, Defendants have violated and continue
21
     to violate Plaintiffs’ First Amendment rights to free speech and association as secured by the
22
     Fourteenth Amendment to the U.S. Constitution and 42 U.S.C. § 1983.
23
        37. State law and collective-bargaining agreements permitting and imposing compulsory
24

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 1   agency fee obligations upon public employees who do not wish to associate with or support WFSE

 2   are not narrowly tailored to serve a compelling government interest.

 3      38. Thus, RCW 41.80.100 and CBA 40.3 violate Plaintiffs’ freedom of speech and association,

 4   in violation of the First Amendment, as secured against state infringement by the Fourteenth

 5   Amendment and 42 U.S.C. § 1983.

 6
                                       VII. DEMAND FOR RELIEF
 7
     The Plaintiffs respectfully request that this Court:
 8
        A. Certify a class consisting of all individuals who: (1) are employees of the State of
 9
     Washington; and, (2) have had any union agency fees deducted from the monies paid to them by
10
     the state and remitted to WFSE or its affiliates; and (3) have chosen not to become members of
11
     WFSE by not signing membership cards or by choosing to become agency fee payers.
12
        B. Issue a declaratory judgment against Governor Inslee, in his official capacity, Director
13
     Schumacher, in his official capacity, and WFSE that:
14
              1. It is unconstitutional under the First Amendment, as secured against State
15
                  infringement by the Fourteenth Amendment and 42 U.S.C. § 1983, to seize or require
16
                  payment of agency fees from the Plaintiffs and other public employees;
17
              2. RCW 41.80.100(1) is unconstitutional under the First Amendment, as secured against
18
                  State infringement by the Fourteenth Amendment and 42 U.S.C. § 1983, and is null
19
                  and void.
20
              3. Article 40.3 of the CBA is unconstitutional under the First Amendment, as secured
21
                  against State infringement by the Fourteenth Amendment and 42 U.S.C. § 1983, and
22
                  is null and void.
23
        C. Permanently enjoin WFSE, along with its officers, agents, servants, employees, attorneys,
24

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 1   and any other person or entity in active concert or participation with it, from collecting “agency

 2   fees” or any other type of money from public employees.

 3      D. Permanently enjoin Defendants Inslee and Schumacher, along with their officers, agents,

 4   servants, employees, attorneys, and any other person or entity in active concert or participation

 5   with them, from enforcing RCW 41.80.100(1) and collecting “agency fees” from public

 6   employees.

 7      E. Permanently enjoin the defendants, along with their officers, agents, servants, employees,

 8   attorneys, and any other person or entity in active concert or participation with them, from

 9   enforcing any law or policy that prevents or deters employees from canceling or revoking their

10   membership in the Washington Education Association or their future provision of “agency fees”

11   or any other type of money to the Washington Education Association.

12      F. Order WFSE to disgorge and refund all agency fees that were unlawfully collected from

13   Plaintiffs and their fellow class members, along with pre-judgment and post-judgment interest.

14      G. Award Plaintiffs their reasonable attorneys’ fees, costs, and expenses pursuant to 42.

15   U.S.C. § 1988.

16      H. Award any other relief this Court deems just and proper.

17      RESPECTFULLY SUBMITTED on March 15, 2018.

18   By: s/ Jonathan F. Mitchell                      s/ David M.S. Dewhirst
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